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 1 BRIAN M. BOYNTON
   Acting Assistant Attorney General
 2 RANDY GROSSMAN
 3 Acting United States Attorney
   ALEXANDER K. HAAS
 4
   Director, Federal Programs Branch
 5 ANTHONY J. COPPOLINO
   Deputy Director, Federal Programs Branch
 6
   ANDREW I. WARDEN
 7 Senior Trial Counsel
   U.S. Department of Justice
 8
   Civil Division, Federal Programs Branch
 9 1100 L Street, NW
   Washington, D.C. 20530
10
   Tel.: (202) 616-5084
11 Fax: (202) 616-8470
   Attorneys for Defendants
12
13
                           UNITED STATES DISTRICT COURT
14                       SOUTHERN DISTRICT OF CALIFORNIA
15
16 LA POSTA BAND OF DIEGUENO                  Case No. 3:20-cv-01552-AJB-MSB
17 MISSION INDIANS OF THE
   LA POSTA RESERVATION,                      JOINT STATUS REPORT
18
19 Plaintiffs,
20 v.
21
   JOSEPH R. BIDEN JR., et al.,
22
23 Defendants.
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     Case 3:20-cv-01552-AJB-MSB Document 85 Filed 07/28/21 PageID.2354 Page 2 of 4




 1            In accordance with the representation in the Joint Status Report filed on May
 2 27, 2021 (ECF No. 81), Plaintiff and Defendants submit the following joint status
 3 report addressing further proceedings in this case.
 4            On June 11, 2021, Defendants notified the Court and Plaintiff that the
 5 Department of Defense (“DoD”) and Department of Homeland Security (“DHS”)
 6 completed their plans for the redirection of funds concerning the southern border wall,
 7 as directed by Section 2 of Proclamation No. 10142, 86 Fed. Reg. 7225, 7226 (Jan.
 8 20, 2021). See ECF No. 110. Those plans make clear that DoD has canceled all
 9 border wall projects undertaken pursuant to 10 U.S.C. § 284, including the two
10 projects at issue in this case, and DHS will not undertake any new barrier construction
11 on the former § 284 projects. See id. The DHS plan also states that it will fund
12 remediation work at the former § 284 projects sites that are turned over to DHS with
13 its Fiscal Year 2021 border wall appropriation. See id., Ex. 3 at 4-5.
14            Since the termination of the DoD projects, DHS has been working to implement
15 the remediation component of its plan, including assessing the status and condition of
16 the project sites to determine the scope and extent of remediation work. Defendants
17 recently provided updated information to Plaintiff about DHS’s remediation efforts,
18 including anticipated timelines and priorities, and DoD’s process to close out the
19 § 284 project sites as part of demobilizing the current contractors. See Exhibit 1
20 (email from Andrew Warden dated July 19, 2021).
21            The parties remain engaged in good faith settlement discussions with respect to
22 all issues in this case and are currently working to reach consensus on procedures to
23 remove certain construction equipment near cultural resources in the El Centro A
24 project area.
25            The parties therefore respectfully request that this Court continue the stay of
26 proceedings to facilitate these ongoing discussions.
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1          Dated: July 28, 2021           Respectfully submitted,
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3
4           /s/ Michelle LaPena           BRIAN M. BOYNTON
            Michelle LaPena               Acting Assistant Attorney General
5
            SBN 201018
6           Rosette, LLP                  RANDY GROSSMAN
            1415 L. St., Ste. 450         Acting United States Attorney
7
            Sacramento, CA 95814
8                                         ALEXANDER K. HAAS
            Counsel for Plaintiff         Director, Federal Programs Branch
9
10                                        ANTHONY J. COPPOLINO
                                          Deputy Director, Federal Programs Branch
11
12                                        /s/ Andrew I. Warden
                                          ANDREW I. WARDEN IN Bar No. 23840-49
13                                        United States Department of Justice
14                                        Civil Division, Federal Programs Branch
                                          1100 L Street, N.W.
15                                        Washington, DC 20005
16                                        Tel: (202) 616-5084
                                          Fax: (202) 616-8470
17                                        Email: Andrew.Warden@usdoj.gov
18
                                          Counsel for Defendants
19
20
21
22
23
24
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      Joint Status Report                   2                             3:20-cv-01552-AJB-MSB
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1                           CERTIFICATE OF JOINT SIGNATURE
2             Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
3 and Procedures of the United States District Court for the Southern District of
4 California, I certify that the content of this document is acceptable to counsel for the
5 Plaintiffs and that I have obtained authorization from Michelle LaPena to affix her
6 signature to this document.
7
8 DATED: July 28, 2021                        /s/ Andrew I. Warden
                                              ANDREW I. WARDEN
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      Joint Status Report                         3                             3:20-cv-01552-AJB-MSB
